
      1
     In the Matter of the Estate of Steven Mark Dale, Deceased, Harriette Dale, Petitioner  v.  Lucille Dale. Respondent No. 24SC289Supreme Court of Colorado, En BancAugust 19, 2024
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp; Court
      of Appeals Case No. 23CA990
    
    
    
      &nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;&nbsp;Petition
      for Writ of Certiorari DENIED.
    